      Case 1:23-cr-00490-SHS               Document 1     Filed 09/21/23    Page 1 of 39




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                                   SEALED INDICTMENT

                        V.                                 23 Cr.

ROBERT MENENDEZ,
NADINE MENENDEZ,
  a/k/a "Nadine Arslanian,"
WAELHANA,
  a/k/a "Will Hana,"
JOSE URIBE, and
                                                          23 CR
FRED DAIBES,

                             Defendants.


                                               Overview

       1.      ROBERT MENENDEZ, the defendant, is the senior U.S. Senator from the State

ofNew Jersey. From at least 2018 up to and including in or about 2022, MENENDEZ and his

wife, NADINE MENENDEZ, a/k/a "Nadine Arslanian," the defendant, engaged in a corrupt

relationship with three New Jersey associates and businessmen-WAEL HANA, a/k/a "Will

Hana," JOSE URIBE, and FRED DAIBES, the defendants-in which MENENDEZ and

NADINE MENENDEZ agreed to and did accept hundreds of thousands of dollars of bribes in

exchange for using MENENDEZ's power and influence as a Senator to seek to protect and

enrich HANA, URIBE, and DAIBES and to benefit the Arab Republic of Egypt. Those bribes

included cash, gold, payments toward a home mortgage, compensation for a low-or-no-show job,

a luxury vehicle, and other things of value.

       2.      This corrupt relationship resulted in ROBERT MENENDEZ, the defendant,

promising to take and taking a series of official acts and breaches of official duty in exchange for

bribes that benefitted him both directly, and indirectly through NADINE MENENDEZ, a/k/a

"Nadine Arslanian," the defendant. First, MENENDEZ promised to and did use his influence
.
-         Case 1:23-cr-00490-SHS          Document 1        Filed 09/21/23     Page 2 of 39




    and power and breach his official duty in ways that benefited the Government of Egypt and

    WAEL HANA, a/k/a "Will Hana," the defendant, an Egyptian-American businessman, among

    others_ Among other actions, MENENDEZ provided sensitive U.S. Government information

    and took other steps that secretly aided the Government of Egypt. MENENDEZ also improperly

    advised and pressured an official at the United States Department of Agriculture for the purpose

    of protecting a business monopoly granted to HANA by Egypt and used in part to fund the bribes

    being paid to MENENDEZ through NADINE MENENDEZ. Second, MENENDEZ promised to

    and did use his influence and power and breach his official duty to seek to disrupt a criminal

    investigation and prosecution undertaken by the New Jersey Attorney General ' s Office related to

    JOSE URIBE, the defendant, and his associates. Third, MENENDEZ promised to and did use

    his influence and power and breach his official duty to recommend that the President nominate

    an individual as U.S. Attorney for the District of New Jersey who MENENDEZ believed could

    be influenced by MENENDEZ with respect to the federal criminal prosecution of FRED

    DAIBES, the defendant, and to seek to disrupt that same prosecution.

           3.      In or about June 2022, federal agents executed search warrants on the New Jersey

    home and the safe deposit box of ROBERT MENENDEZ and NADINE MENENDEZ, a/k/a

    "Nadine Arslanian," the defendants. In conducting these court-authorized searches, agents found

    certain of the fruits ofMENENDEZ's and NADINE MENENDEZ's corrupt bribery agreement

    with WAEL HANA, a/k/a "Will Hana," JOSE URIBE, and FRED DAIBES, the defendants,

    including cash, gold, the luxury vehicle, and home furnishings . Over $480,000 in cash-much

    of it stuffed into envelopes and hidden in clothing, closets, and a safe-was discovered in the

    home, along with over $70,000 in NADINE MENENDEZ' s safe deposit box. Some of the

    envelopes contained the fingerprints and/or DNA ofDAIBES or his driver. Other of the




                                                     2
      Case 1:23-cr-00490-SHS        Document 1       Filed 09/21/23     Page 3 of 39




envelopes were found inside jackets bearing MENENDEZ's name and hanging in his closet, as

depicted below.




During the same court-authorized search of the home, agents also found home furnishings

provided by HANA and DAIBES, the luxury vehicle paid for by URIBE parked in the garage, as

well as over one hundred thousand dollars' worth of gold bars in the home, which were provided

by either HANA or DAIBES. Two of the gold bars DAIBES provided are depicted in the

photographs below.




                                              3
       Case 1:23-cr-00490-SHS           Document 1        Filed 09/21/23      Page 4 of 39




                                       Relevant Individuals

    Senator Robert Menendez and his Wife, Nadine Menendez, a/k/a "Nadine Arslanian"

       4.      ROBERT MENENDEZ, the defendant, is the senior U.S. Senator from the State

of New Jersey. MENENDEZ served as mayor of Union City, New Jersey, and a member of the

New Jersey state legislature until 1993, when he was elected to the U.S. House of

Representatives representing a New Jersey district. MENENDEZ was appointed to the U.S.

Senate in 2006, subsequently elected in 2006, and reelected in 2012 and 2018. At all times

relevant to this Indictment, MENENDEZ held a leadership position on the Senate Foreign

Relations Committee (the "SFRC"), first as the Ranking Member and then the Chairman, and

therefore possessed influence over, among other things, the Executive Branch' s decisions to

provide foreign military sales, foreign military financing, and other aid or support to or for the

benefit of the Government of Egypt. By virtue of his position as the senior U.S. Senator from

the State of New Jersey, at all times relevant to this Indictment, MENENDEZ had the ability to

recommend to the President that a particular individual be nominated to serve as the U.S.


                                                  4
        Case 1:23-cr-00490-SHS             Document 1      Filed 09/21/23     Page 5 of 39




Attorney for the District of New Jersey. At all times relevant to this Indictment, the official

public website for MENENDEZ's Senate office stated that his office could not take certain

actions, including actions to influence private business matters, and actions to intervene with

judicial issues and criminal trials, as detailed in the below excerpt from the website:


               B_OB_ M
             .__I    _E~ENDEZ         I
                                                                            0.

             OUR OFFICE CANNOT
             COMPEL an agency to act in your favor or expedite your case.

             OVERTURN or influence matters involving private businesses.

             INTERVENE with judicial issues, provide legal advice or recommend an
             attorney. Our Senate office cannot legally get involved with pending
             litigation, including questions about criminal trials or imprisonment, child
             custody issues, and civil lawsuits. My office cannot overturn or in any way
             influence a court's decision.


        5.          NADINE MENENDEZ, a/k/a "Nadine Arslanian," the defendant, began dating

ROBERT MENENDEZ, the defendant, in or about early February 2018. They became engaged

in or about early October 2019, and married in or about early October 2020. Before NADINE

MENENDEZ began dating MENENDEZ, she was unemployed.

                                  The Three New Jersey Businessmen

        6.          At all times relevant to this Indictment, WAEL HANA, a/k/a "Will Hana," the

defendant, who is originally from Egypt, resided principally in New Jersey, and maintained close

connections with Egyptian officials. HANA and NADINE MENENDEZ, a/k/a "Nadine

Arslanian," the defendant, were friends for many years before she began dating ROBERT

MENENDEZ, the defendant. A court-authorized search in or about November 2019 of a

cellphone HANA used revealed thousands of text messages between HANA and NADINE

MENENDEZ, many of which NADINE MENENDEZ deleted from her own cellphone.


                                                   5
      Case 1:23-cr-00490-SHS          Document 1       Filed 09/21/23      Page 6 of 39




       7.      JOSE URIBE, the defendant, is a businessman who resides in New Jersey and

works in the trucking and insurance business, after having previously been convicted of fraud

and having his insurance broker' s license revoked. URIBE is a business associate and friend of

WAEL HANA, a/k/a "Will Hana," the defendant. URIBE developed a relationship with

ROBERT MENENDEZ and NADINE MENENDEZ, a/k/a "Nadine Arslanian," the defendants,

after HANA connected them in or about 2018.

       8.      FRED DAIBES, the defendant, is a New Jersey real estate developer, a founder of

a New Jersey-based bank, and a business associate of WAEL HANA, a/k/a "Will Hana," the

defendant. On or about October 30, 2018, DAIBES was charged by the United States Attorney' s

Office for the District of New Jersey with obtaining loans under false pretenses from that bank.

DAIBES was a longtime fundraiser for ROBERT MENENDEZ, the defendant.

   MENENDEZ Agrees to Take Actions that Benefit Egypt and HANA in Exchange for
                         Promises of Things of Value

       9.      In or about early 2018, NADINE MENENDEZ, a/k/a "Nadine Arslanian," the

defendant, informed WAEL HANA, a/k/a "Will Hana," the defendant, that she was dating

ROBERT MENENDEZ, the defendant. In the following months and years, HANA and

NADINE MENENDEZ worked to introduce Egyptian intelligence and military officials to

MENENDEZ for the purpose of establishing and solidifying a corrupt agreement in which

HANA, with assistance from FRED DAIBES and JOSE URIBE, the defendants, provided

hundreds of thousands of dollars of bribes to MENENDEZ and NADINE MENENDEZ, in

exchange for MENENDEZ' s acts and breaches of duty to benefit the Government of Egypt,

HANA, and others, including with respect to foreign military sales and foreign military

financing.




                                                6
..          Case 1:23-cr-00490-SHS            Document 1        Filed 09/21/23      Page 7 of 39




                   Background on Foreign Military Sales and Foreign Military Financing

            10.      At all times relevant to this Indictment, Egypt was among the largest recipients in

     the world of U.S. military aid. Between approximately 2018 and approximately 2022, the U.S.

     Government supplied substantial military aid to Egypt, including in the form of grants of over $1

     billion per year ("foreign military financing"), and in the form of direct government-to-

     government sales of military equipment ("foreign military sales"), which Egypt typically paid for

     with foreign military financing, and which the Executive Branch was required to notify Congress

     about under certain circumstances prior to going forward with those sales. The U.S. Department

     of State (the "State Department") played a central role in reviewing and approving foreign

     military sales to Egypt and obligating foreign military financing to Egypt, which was conditioned

     on certain certifications being made by the State Department. As a matter of longstanding,

     voluntary practice, the State Department would typically honor so-called "holds" placed by the

     Chairman or the Ranking Member of the SFRC on both foreign military financing and foreign

     military sales. In other words, the State Department would typically not proceed with a transfer

     of foreign military financing grant money to Egypt' s bank account (located at all relevant times

     in Manhattan), or with a foreign military sale to Egypt, while the Chairman or the Ranking

     Member of the SFRC had not signed off on, and was maintaining a "hold" on, such a transfer or

     sale. As a result, at all times relevant to the Indictment, ROBERT MENENDEZ, the defendant,

     as the Chairman or the Ranking Member of the SFRC, possessed substantial influence over

     foreign military sales and foreign military financing to Egypt.

             11.      For at least several years prior to 2018, despite its strategically important

     relationship with the U.S. and in the Middle East, Egypt had often faced resistance in obtaining

     foreign military financing and foreign military sales. For example, in or about August 2017, the

     State Department announced that it was withholding $195 million in foreign military financing


                                                         7
      Case 1:23-cr-00490-SHS           Document 1       Filed 09/21/23      Page 8 of 39




until Egypt could demonstrate improvements on human rights and democracy, and was canceling

an additional $65. 7 million in foreign military financing to Egypt. By in or about early 2018,

multiple U.S. Senators had raised human rights or rule-of-law objections to foreign military

financing to Egypt, and no foreign military sales of offensive military equipment to Egypt

requiring congressional notification had been concluded since in or about March 2016.

      HANA and NADINE MENENDEZ Introduce Egyptian Officials to MENENDEZ
                           for Corrupt Purposes

       12.      In or about 2018, shortly after ROBERT MENENDEZ and NADINE

MENENDEZ, a/k/a "Nadine Arslanian," the defendants, began dating, WAEL HANA, a/k/a

"Will Hana," the defendant, and NADINE MENENDEZ arranged a series of meetings and

dinners with MENENDEZ-paid for by HANA or his associates-at which Egyptian officials

raised, among other things, requests related to foreign military sales and foreign military

financing. In exchange for MENENDEZ' s and NADINE MENENDEZ's promise that

MENENDEZ would, among other things, use his power and authority to facilitate such sales and

financing to Egypt, HANA promised, among other things, to put NADINE MENENDEZ on the

payroll of his company in a low-or-no-show job. For example:

               a.      In or about March 2018, MENENDEZ met with an Egyptian military

official ("Egyptian Official-I") and other Egyptian military officials at a meeting arranged and

attended by his then-girlfriend NADINE MENENDEZ and her friend HANA. MENENDEZ

allowed NADINE MENENDEZ and HANA to arrange and participate in this meeting, which

took place at MENENDEZ's Senate office in Washington, D.C. and included discussions of

foreign military financing to Egypt, among other topics, without the involvement of professional

staff in MENENDEZ's Senate office or the SFRC.




                                                 8
       Case 1:23-cr-00490-SHS          Document 1        Filed 09/21/23      Page 9 of 39




               b.      MENENDEZ and NADINE MENENDEZ again met with HANA on or

about May 6, 2018. Later that same day, MENENDEZ sought from the State Department non-

public information regarding the number and nationality of persons serving at the U.S. Embassy

in Cairo, Egypt. Although this information was not classified, it was deemed highly sensitive

because it could pose significant operational security concerns if disclosed to a foreign

government or if made public. Without telling his professional staff, SFRC staff, or the State

Department that he was doing so, on or about May 7, 2018, MENENDEZ texted that sensitive,

non-public embassy information to his then-girlfriend NADINE MENENDEZ, writing:

               Just FYI. [a number] Americans - combination of diplomats,
               commercial service, USAID, other
               [a number] Egyptians, locally employed staff
               This is what's at American embassy. [Summary ofratio] are
               Egyptians working at Embassy.

NADINE MENENDEZ forwarded this message to HANA, who forwarded it to an Egyptian

government official ("Egyptian Official-2").

               c.      That same month, in or about May 2018, HANA hosted another dinner at

a high-end restaurant with MENENDEZ, during which MENENDEZ disclosed to HANA non-

public information about the United States's provision of military aid to Egypt. Shortly after the

dinner, HANA texted Egyptian Official-I , "The ban on small arms and ammunition to Egypt has

been lifted. That means sales can begin. That will include sniper rifles among other articles."

               d.      Later that month, in or about May 2018, NADINE MENENDEZ conveyed

to MENENDEZ a request from an Egyptian official seeking assistance in editing and drafting a

letter lobbying other U.S. Senators to support U.S. aid to Egypt. NADINE MENENDEZ

explained that she wanted MENENDEZ to prepare the letter because HANA and an Egyptian

official, whom she referred to as the "General" in her communications with MENENDEZ, had

gotten NADINE MENENDEZ "clearance for a project." In response, MENENDEZ secretly

                                                 9
.   '
             Case 1:23-cr-00490-SHS           Document 1       Filed 09/21/23      Page 10 of 39




        edited and ghost-wrote the requested letter on behalf of Egypt seeking to convince other U.S.

        Senators to release a hold on $300 million in aid to Egypt. MENENDEZ sent this ghost-written

        letter to NADINE MENENDEZ from his personal email account. NADINE MENENDEZ

        forwarded the ghost-written letter to HANA, facilitating HAN A's conveyance of the revised

        draft back to Egyptian officials. Both MENENDEZ and NADINE MENENDEZ deleted the

        email in which NADINE MENENDEZ asked MENENDEZ to write this letter.

               13.     In or about July 2018, ROBERT MENENDEZ, the defendant, met again with

        Egyptian Official-I and multiple other Egyptian military officials to discuss foreign military

        financing and foreign military sales during a meeting that was arranged, scheduled, and attended

        by NADINE MENENDEZ, a/k/a "Nadine Arslanian," and WAEL HANA, a/k/a "Will Hana,"

        the defendants. In advance of that meeting, the Egyptian Government, through HANA and

        NADINE MENENDEZ, provided to MENENDEZ briefing materials advocating Egyptian

        foreign policy goals and positions and setting forth Egypt's requests for the approval of foreign

        military financing and foreign military sales to Egypt. The next day, MENENDEZ texted

        NADINE MENENDEZ:

                       Tell Will [HANA] I am going to sign off this sale to Egypt today.
                       Egypt: 46,000 120MM Target Practice Rounds and 10,000 Rounds
                       Tank Ammunition: $99 million

                       NOTE: These tank rounds are for tanks they have had for many
                       years. They are using these in the Sinai for the counter-terrorism
                       campaign.

        NADINE MENENDEZ forwarded this text to HANA, who forwarded it to Egyptian Official-I

        and Egyptian Official-2. Egyptian Official-I replied with a "thumbs up" emoji.
      Case 1:23-cr-00490-SHS          Document 1       Filed 09/21/23     Page 11 of 39




                     MENENDEZ Takes Action to Protect IS EG Halal

                     HANA Fails to Deliver on Promised Bribe Payments

       14.    WAEL HANA, a/k/a " Will Hana," the defendant, repeatedly promised NADINE

MENENDEZ, a/k/a "Nadine Arslanian," the defendant, payments, including through a low-or-

no-show job, from IS EG Halal Certified, Inc. ("IS EG Halal"), a New Jersey company that

HANA operated with financial support and backing from FRED DAIBES, the defendant, in

furtherance of the scheme. However, IS EG Halal had little to no revenue between in or about

2018 and in or about early 2019, and HANA did not deliver on his promises to make those

payments during this time period.

       15.     After several months of nonpayment following the initial March 2018 meeting

described in paragraph 12.a, above, NADINE MENENDEZ, a/k/a "Nadine Arslanian," the

defendant, complained to multiple associates of WAEL HANA, a/k/a "Will Hana," the

defendant, about HANA' s failure to pay her, and caused at least one of them to believe that

ROBERT MENENDEZ, the defendant, would cease acting for HANA' s benefit and at his

request, including with respect to Egypt, unless HANA came through on his promises and paid

her. NADINE MENENDEZ also complained directly to MENENDEZ about HANA' s as-yet-

unfulfilled promises, writing, "I have been so upset all morning. Will left for Egypt yesterday

supposedly and now thinks he' s king of the world and has both countries wrapped around his

pinky. I really hope they replace him."

                    HANA Obtains a Lucrative Monopoly for IS EG Halal

       16.     In or about the spring of 2019, the Government of Egypt granted IS EG Halal an

exclusive monopoly on the certification of U.S. food exports to Egypt as compliant with halal

standards, despite the fact that neither WAEL HANA, a/k/a "Will Hana," the defendant, nor his

company, had experience with halal certification. Prior to this action, a number of other U.S.


                                                11
         Case 1:23-cr-00490-SHS        Document 1       Filed 09/21/23      Page 12 of 39




companies had been licensed to certify U.S. meat exports to Egypt for halal compliance for

years.

         17.   The monopoly for IS EG Halal allowed WAEL HANA, a/k/a "Will Hana," the

defendant, to provide payments to NADINE MENENDEZ, a/k/a "Nadine Arslanian," and

ROBERT MENENDEZ, the defendants. Indeed, on or about April 7, 2019, an Egyptian

government official informed HANA that IS EG Halal was likely to become Egypt' s sole halal

certifier for imports from the U.S. market. The next day, NADINE MENENDEZ texted

MENENDEZ, "Seems like halal went through. It might be a fantastic 2019 all the way around. "

               NADINE MENENDEZ Forms an LLC to Receive Bribe Payments

         18.   In or about June 2019, after IS EG Halal obtained its monopoly, NADINE

MENENDEZ, a/k/a "Nadine Arslanian," the defendant, formed an entity titled Strategic

International Business Consultants, LLC ("Strategic International Business Consultants") in New

Jersey, with the assistance of ROBERT MENENDEZ, the defendant. The company was used to

receive bribe payments in furtherance of the crimes charged herein. When sending a relative

information about the formation of her company, NADINE MENENDEZ stated, by text

message, "every time I'm in a middle person for a deal I am asking to get paid and this is my

consulting company."

                  MENENDEZ Intervenes to Protect the Lucrative Monopoly

         19.   The IS EG Halal monopoly advanced the scheme by, among other things,

providing a revenue stream from which WAEL HANA, a/k/a "Will Hana," the defendant, could

make good on the bribe payments he had promised to ROBERT MENENDEZ, the defendant,

through NADINE MENENDEZ, a/k/a "Nadine Arslanian," the defendant. The monopoly also

resulted in increased costs for various U.S. meat suppliers and others. As a result, in or about

April and May 2019, multiple U.S. Government officials from the U.S. Department of


                                                 12
       Case 1:23-cr-00490-SHS           Document 1        Filed 09/21/23      Page 13 of 39




Agriculture ("USDA") contacted the Government of Egypt objecting to and seeking

reconsideration of its grant of monopoly rights to IS EG Halal, and the USDA prepared a public

report regarding the increased cost for halal certification and the likely disruption to the U.S.

market caused by the new monopoly.

       20.      On or about May 21, 2019, ROBERT MENENDEZ, NADINE MENENDEZ,

a/k/a "Nadine Arslanian," and WAEL HANA, a/k/a "Will Hana," the defendants, met with an

Egyptian intelligence official ("Egyptian Official-3") at MENENDEZ's Senate office in

Washington, D.C. During this meeting, the group discussed a human rights matter that had been

affecting aid to Egypt. In the same meeting, HANA also requested MENENDEZ' s assistance to

counter the USDA' s objections to IS EG Halal' s monopoly. Later that evening, the same

participants met at a steakhouse in Washington, D.C. for dinner.

       21.      Over the next two days, on or about May 22 and 23 , 2019, WAEL HANA, a/k/a

"Will Hana," the defendant, provided NADINE MENENDEZ, a/k/a "Nadine Arslanian," the

defendant, with a variety of materials regarding the USDA's objections to IS EG Halal ' s

monopoly, some of which HANA received from an Egyptian official. NADINE MENENDEZ

then texted certain of those materials to ROBERT MENENDEZ, the defendant, who later

deleted them.

       22.      On or about May 23 , 2019, ROBERT MENENDEZ, the defendant, called a high-

level USDA official ("Official- I") and insisted, in sum and substance, that the USDA stop

opposing IS EG Halal's status as sole halal certifier. When Official-I attempted to explain why

the monopoly was detrimental to U.S. interests, MENENDEZ reiterated his demand, in sum and

substance, that the USDA stop interfering with IS EG Halal ' s monopoly. Official-I did not

accede to MENENDEZ's demand, but IS EG Halal nevertheless kept its monopoly.




                                                  13
      Case 1:23-cr-00490-SHS          Document 1        Filed 09/21/23     Page 14 of 39




                         IS EG Halal is Used to Fund Bribe Payments

         23.   After financially benefitting from IS EG Halal ' s monopoly status as the sole halal

certifier, WAEL HANA, a/k/a "Will Hana," the defendant, at times with the assistance of FRED

DAIBES and JOSE URIBE, the defendants, provided payments in furtherance of the scheme.

         24.   For example, in or about July 2019, after the mortgage company for the residence

of NADINE MENENDEZ, a/k/a "Nadine Arslanian," the defendant, initiated foreclosure

proceedings, WAEL HANA, a/k/a "Will Hana," the defendant, caused IS EG Halal to pay

approximately $23,000 to bring NADINE MENENDEZ' s mortgage current. HANA made this

payment following a series of discussions with NADINE MENENDEZ, as well as JOSE URIBE

and FRED DAIBES, the defendants, about various options for bringing the mortgage current.

When at one point URIBE responded to NADINE MENENDEZ that HANA might balk at the

amount required to bring the mortgage current, NADINE MENENDEZ replied, in part, "When I

feel comfortable and plan the trip to Egypt he [i. e., HANA] will be more powerful than the

president of Egypt." Thereafter, URIBE and HANA worked to facilitate the payments, and

MENENDEZ continued taking actions to assist HANA and Egypt, including those discussed

below.

         25.   A few months later, in or about September 2019, NADINE MENENDEZ, a/k/a

"Nadine Arslanian," the defendant, texted FRED DAIBES, the defendant, complaining that

HANA had not paid her what he owed her. DAIBES replied to NADINE MENENDEZ,

"Nadine I personally gave Bob a check for September."

         26.   Several days later, NADINE MENENDEZ, a/k/a "Nadine Arslanian," the

defendant, texted ROBERT MENENDEZ, the defendant, to complain that WAEL HANA, a/k/a

"Will Hana," and FRED DAIBES, the defendants, had not made payments, writing, "I am

soooooo upset," stating that HANA had not left her an envelope, and remarking, "I thought Fred


                                                14
       Case 1:23-cr-00490-SHS          Document 1        Filed 09/21/23      Page 15 of 39




[DAIBES] would make sure it' s there and the second day in a row there is nothing." NADINE

MENENDEZ also wrote, "I thought after everything that happened especially last Saturday and

that week [referring to meetings MENENDEZ had with senior Egyptian officials] that at least he

would honor his word one time I don't know ifl should text Fred [DAIBES] or wait what should

I do?" MENENDEZ responded, "No, you should not text or email." Soon thereafter, NADINE

MENENDEZ called DAIBES. IS EG Halal issued a $10,000 check to Strategic International

Business Consultants the next day, on or about September 28, 2019. In total, IS EG Halal issued

three $10,000 checks to Strategic International Business Consultants, dated August 30,

September 28, and November 5, 2019, which DAIBES helped provide or facilitate.

         HANA and DA/BES Continue to Seek Action from MENENDEZ for Egypt

       27.     During the same period when IS EG Halal issued these checks, on or about

September 9, 2019, Egyptian Official-3 texted WAEL HANA, a/k/a "Will Hana," the defendant,

that " [A State Department employee] told [an Egyptian diplomatic official] today that senator

Menendize [sic] put an [sic] hold on a billion $ of usaid to Egypt before the recess !!!!" and "Is

this true?" HANA responded to Egyptian Official-3 that HANA would ask. HANA then

attempted to contact NADINE MENENDEZ, a/k/a "Nadine Arslanian," the defendant. Several

minutes later, HANA called FRED DAIBES, the defendant, via an encrypted messaging

program, and forwarded Egyptian Official-J ' s text message to DAIBES. DAIBES promptly

called ROBERT MENENDEZ, the defendant, and then DAIBES called HANA back via the

same encrypted messaging program. Less than two minutes later, HANA texted Egyptian

Official-3, writing that it was not true and "he" (i.e. , MENENDEZ) did not know anything about

the hold on U.S. aid to Egypt.

       28.     Also in or about September 2019, ROBERT MENENDEZ, the defendant, offered

to provide his assistance to Egypt and to WAEL HANA, a/k/a "Will Hana," the defendant,


                                                 15
      Case 1:23-cr-00490-SHS          Document 1       Filed 09/21/23      Page 16 of 39




during an official trip to India. Following a dinner among HANA, MENENDEZ, and NADINE

MENENDEZ, a/k/a "Nadine Arslanian," the defendant, HANA texted Egyptian Official-3, "our

man [MENENDEZ] is traveling to India after two weeks and he is asking if there any message

we need or anything for ISEG?" Later that same month, MENENDEZ, HANA, and FRED

DAIBES, the defendant, met in Manhattan with Egyptian Official-3.

       29.     The meetings between ROBERT MENENDEZ and NADINE MENENDEZ, a/k/a

"Nadine Arslanian," the defendants, and Egyptian officials, and the receipt of things of value by

MENENDEZ and NADINE MENENDEZ in exchange for MENENDEZ's promises to take

actions favorable to Egypt and WAEL HANA, a/k/a "Will Hana," the defendant, and others,

continued through 2020 and into 2022. For example:

               a.     In or about March 2020, NADINE MENENDEZ texted Egyptian Official-

3, "anytime you need anything you have my number and we will make everything happen." A

few days later she arranged for MENENDEZ to meet with Egyptian Official-3 , whom NADINE

MENENDEZ referred to as "the general," regarding negotiations between Egypt, Ethiopia, and

Sudan over a dam on the Nile River being built by Ethiopia, known as the Grand Ethiopian

Renaissance Dam (the "Dam"), which was generally regarded as one of the most important

foreign policy issues for Egypt. Within one month, in or about April 2020, MENENDEZ wrote

a letter to the then-Secretary of the Treasury and the then-Secretary of State regarding the Dam,

beginning the letter, "I am writing to express my concern about the stalled negotiations between

Egypt, Ethiopia, and Sudan over [the Dam] ," and stating, "I therefore urge you to significantly

increase the State Department' s engagement on negotiations surrounding the [Dam]."

               b.     In or about October 2020, MENENDEZ and NADINE MENENDEZ met

for dinner with Egyptian Official-3 and another Egyptian official ("Egyptian Official-4") at a

restaurant in Edgewater, New Jersey. After this dinner, NADINE MENENDEZ and Egyptian

                                                16
      Case 1:23-cr-00490-SHS           Document 1       Filed 09/21/23     Page 17 of 39




Official-4 began texting with each other on an ongoing basis and had additional in-person

meetings, including a dinner they had in or about December 2020 with MENENDEZ and

Egyptian Official-3 .

               c.       In or about early 2021 , HANA used IS EG Halal funds to cause two

exercise machines and an air purifier, among other items, collectively worth thousands of dollars,

to be purchased online and delivered to the house of MENENDEZ and NADINE MENENDEZ.

               d.       On or about June 21 , 2021 , NADINE MENENDEZ and Egyptian Official-

4 organized a private meeting between MENENDEZ and a senior Egyptian intelligence official

("Egyptian Official-5") in a hotel in Washington, D.C. prior to a meeting between Egyptian

Official-5 and other U.S. Senators the next day. On the day of the private meeting, MENENDEZ

provided NADINE MENENDEZ with a copy of a news article reporting on questions that other

U.S. Senators intended to ask Egyptian Official-5 regarding a human rights issue. NADINE

MENENDEZ then sent that article to Egyptian Official-4, who responded, "Thanks you so much,

chairman [i.e. , MENENDEZ, the Chairman of the SFRC] also raised it today, we appreciate it."

The next day, NADINE MENENDEZ texted Egyptian Official-4 that she hoped the article she

had sent was helpful, and stated, "I just thought it would be better to know ahead of time what is

being talked about and this way you can prepare your rebuttals."

               e.       On or about June 23, 2021-i.e. , two days after the private meeting

between MENENDEZ and Egyptian Official-5-HANA purchased 22 one-ounce gold bars, each

with a unique serial number. Two of these one-ounce gold bars were subsequently found during

the court-authorized search in June 2022 of the residence of MENENDEZ and NADINE

MENENDEZ. During the relevant time periods, the spot market price of gold was

approximately $1 ,800 per ounce.




                                                 17
       Case 1:23-cr-00490-SHS          Document 1        Filed 09/21/23      Page 18 of 39




               f.      In or about the fall of 2021 , NADINE MENENDEZ communicated

directly with Egyptian Official-4 to arrange a trip for MENENDEZ and NADINE MENENDEZ

to Egypt, which they took in or about October 2021. NADINE MENENDEZ and Egyptian

Official-4 originally planned the trip as an unofficial visit, and therefore without supervision

from the State Department. When an SFRC staffer contacted the U. S. Embassy in Cairo

regarding the trip, causing the planned trip to become a formal congressional delegation under

the supervision of the State Department, Egyptian Official-4 texted NADINE MENENDEZ "i

will probably loose [sic] my job" and "SOS". NADINE MENENDEZ forwarded this text to

MENENDEZ. HANA was also in Egypt during MENENDEZ' s and NADINE MENENDEZ' s

trip, and they met for at least one dinner while there. During that trip, MENENDEZ and

NADINE MENENDEZ also met with multiple Egyptian officials, including for a private dinner

at the home of Egyptian Official-5, a photo of which is below.




               g.      In or about January 2022, MENENDEZ sent NADINE MENENDEZ a link

to a news article reporting on two pending foreign military sales to Egypt totaling approximately

$2.5 billion dollars. NADINE MENENDEZ forwarded this link to HANA, writing, "Bob had to



                                                 18
       Case 1:23-cr-00490-SHS          Document 1       Filed 09/21/23        Page 19 of 39




sign off on this."

        30.     In exchange for the promises and acts set forth above, WAEL HANA, a/k/a "Will

Hana," and FRED DAIBES, the defendants, provided multiple things of value to ROBERT

MENENDEZ and NADINE MENENDEZ, a/k/a "Nadine Arslanian," the defendants, including

with the assistance of JOSE URIBE, the defendant. Those things of value included hundreds of

thousands of dollars in checks, cash, and gold, some of which was recovered during the June

2022 court-authorized search of the residence of MENENDEZ and NADINE MENENDEZ

described above. NADINE MENENDEZ caused some of the gold to be sold in Manhattan prior

to the search and deposited the proceeds into bank accounts she controlled.

              MENENDEZ Agrees to Disrupt New Jersey State Criminal Matters
                    in Exchange for a Mercedes-Benz Convertible

        31.     In or about 2019, WAEL HANA, a/k/a "Will Hana," and JOSE URIBE, the

defendants, offered and then helped to buy a new Mercedes-Benz C-300 convertible (the

"Mercedes-Benz Convertible") worth more than $60,000 for NADINE MENENDEZ, a/k/a

"Nadine Arslanian," and ROBERT MENENDEZ, the defendants. In exchange, MENENDEZ

agreed and sought to interfere in a New Jersey state criminal prosecution of an associate of

URIBE (the "New Jersey Defendant") and a state criminal investigation involving an employee

of URIBE (the "New Jersey Investigative Subject"), whom URIBE referred to as a relative in

communicating with NADINE MENENDEZ. Specifically, MENENDEZ contacted a senior

state prosecutor in the Office of the New Jersey Attorney General who supervised the

prosecution of the New Jersey Defendant and the investigation involving the New Jersey

Investigative Subject ("Official-2") in an attempt, through advice and pressure, to cause Official-

2 to resolve these matters favorably to the New Jersey Defendant and the New Jersey




                                                19
       Case 1:23-cr-00490-SHS             Document 1     Filed 09/21/23    Page 20 of 39




Investigative Subject. Official-2 considered ROBERT MENENDEZ' s actions inappropriate and

did not agree to intervene.

         MENENDEZ Agrees to Disrupt the Prosecution of the New Jersey Defendant

        32.     The first matter that ROBERT MENENDEZ, the defendant, agreed to attempt to

influence concerned the New Jersey Defendant. The New Jersey Defendant was an associate of

JOSE URIBE, the defendant, and was charged with insurance fraud relating to a trucking

company ("Trucking Company-I ") the insurance of which was brokered by a company

controlled by URIBE (the "Insurance Company"). The New Jersey Investigative Subject, an

employee of URIBE who worked at the Insurance Company and whom he referred to as a

relative, allegedly was involved in submitting the insurance applications at issue in the New

Jersey Defendant' s criminal case. URIBE was implicated in the conduct with which the New

Jersey Defendant was charged, and URIBE raised concerns about the case to WAEL HANA,

a/k/a "Will Hana," the defendant, among others, writing in or about April 2018 about the case

that "the deal is to kill and stop all investigation."

        33.     NADINE MENENDEZ, a/k/a "Nadine Arslanian," the defendant, was involved in

a car accident in or about December 2018 that left her without a car. On multiple occasions up to

and including in or about January 2019, NADINE MENENDEZ sent text messages to WAEL

HANA, a/k/a "Will Hana," the defendant, about her lack of a car.

        34.     Beginning in or about January 2019, ROBERT MENENDEZ, NADINE

MENENDEZ, a/k/a "Nadine Arslanian," WAEL HANA, a/k/a "Will Hana," and JOSE URIBE,

the defendants, agreed that MENENDEZ would attempt to intervene with Official-2 to influence

the prosecution of the New Jersey Defendant in exchange for a car. For example:

                a.      On or about January 26, 2019, NADINE MENENDEZ invited HANA and

URIBE to a dinner with her and MENENDEZ. MENENDEZ, NADINE MENENDEZ, and

                                                    20
       Case 1:23-cr-00490-SHS           Document 1       Filed 09/21/23     Page 21 of 39




HANA had the dinner on or about January 27 without URIBE, who could not attend because of a

scheduling conflict. After the dinner, HANA sent NADINE MENENDEZ a series of text

messages providing facts about the prosecution of the New Jersey Defendant. NADINE

MENENDEZ subsequently deleted these text messages.

                b.      On or about January 29, 2019-i. e., two days after the dinner described in

paragraph 34.a, above-MENENDEZ called Official-2 and spoke with him in an attempt,

through advice and pressure, to cause a resolution of the prosecution in the New Jersey

Defendant's favor. In preparation for this call, MENENDEZ requested and received multiple

text messages from NADINE MENENDEZ about the New Jersey Defendant, including the

charges he was facing, which NADINE MENENDEZ, in turn, requested and received from

HANA. MENENDEZ and NADINE MENENDEZ both subsequently deleted these text

messages.

                c.      After being contacted by MENENDEZ, to avoid any potential

inappropriate influence in the case, Official-2 did not share with the prosecution team that

MENENDEZ had contacted him about the matter, and did not intervene in the matter.

Nonetheless, in or about April 2019, the New Jersey Defendant resolved his criminal prosecution

with a guilty plea pursuant to a plea agreement that recommended a non-incarceratory sentence.

This resolution was more favorable for the New Jersey Defendant than the prosecutors' initial

plea offer earlier in the case.

                     URIBE Provides NADINE MENENDEZ with a Luxury Car

        35.     After ROBERT MENENDEZ, the defendant, agreed to and did call Official-2

about the New Jersey Defendant's case in or about January 2019, WAEL HANA, a/k/a "Will

Hana," and JOSE URIBE, the defendants, worked to provide NADINE MENENDEZ, a/k/a

"Nadine Arslanian," the defendant, with the Mercedes-Benz Convertible, as HANA had

                                                 21
      Case 1:23-cr-00490-SHS          Document 1       Filed 09/21/23      Page 22 of 39




previously promised. Only a few days after MENENDEZ's first call to Official-2, on or about

February 3, 2019, NADINE MENENDEZ texted HANA, "All is GREAT! I'm so excited to get a

car next week. !!" After some delays, URIBE ultimately facilitated NADINE MENENDEZ's

purchase of the car through the following events, among others:

               a.     On or about March 12, 2019, NADINE MENENDEZ called URIBE and

spoke with him for over 21 minutes. After the call, URIBE texted NADINE MENENDEZ, "I

am real. I will stand by my word."

               b.     On or about March 27, 2019, URIBE texted NADINE MENENDEZ the

information for a Mercedes-Benz dealership in Edison, New Jersey. Over the next several days,

URIBE worked to put NADINE MENENDEZ in touch with a salesman at the car dealership.

Once at the dealership, NADINE MENENDEZ sent MENENDEZ photos of two different cars to

seek his input on the color scheme.

               c.     On or about April 3, 2019, NADINE MENENDEZ texted a Mercedes-

Benz car dealership salesperson that URIBE said she would be going to the dealership on April 5

to pick up the car. Later that day, URIBE texted an associate ("Associate-I "), a message roughly

translated from Spanish as, "I did everything on this side. I need 15k cash this afternoon." Later

that day, NADINE MENENDEZ texted URIBE, "You are a miracle worker who makes dreams

come true I will always remember that."

               d.     On or about April 4, 2019, NADINE MENENDEZ left MENENDEZ a

voicemail saying that she was going "to meet Jose for five minutes" and then met URIBE in the

parking lot of a restaurant where URIBE provided NADINE MENENDEZ with approximately

$15,000 in cash.

               e.     The next day, NADINE MENENDEZ purchased the Mercedes-Benz

Convertible, making a $15 ,000 down payment with a combination of cash, a credit card, and

                                                22
      Case 1:23-cr-00490-SHS          Document 1        Filed 09/21/23     Page 23 of 39




several checks, and taking out an automotive loan to finance the remainder of the approximately

$60,000 purchase price. A number of the statements NADINE MENENDEZ made on the

application in order to secure the loan financing were false, including statements about her

employment and income. After the purchase was complete, NADINE MENENDEZ messaged

MENENDEZ, "Congratulations mon amour de la vie, we are the proud owners of a 2019

Mercedes.     ." Later that day, after URIBE asked her, "are you happy?," NADINE

MENENDEZ responded, "I will never forget this. " NADINE MENENDEZ later texted

MENENDEZ a photo of the Mercedes-Benz Convertible, which is below:




               f.      After initially providing cash to NADINE MENENDEZ to purchase the

Mercedes Benz Convertible, URIBE subsequently caused monthly financing payments to be paid

for the car, which were routed either through one of his business associates or through a

company he controlled. In order to make the initial payments, in or about early May 2019,

URIBE asked a business associate of his ("Associate-2") to make a payment for the Mercedes-


                                                23
      Case 1:23-cr-00490-SHS          Document 1       Filed 09/21/23      Page 24 of 39




Benz Convertible from Associate-2's corporate bank account, which had previously been opened

at a bank branch in the Bronx. URIBE explained to Associate-2, in making this request, that he

did not want his own name to be associated with the payment. URIBE and Associate-2 manually

made each periodic payment from in or about May 2019 through in or about October 2019,

either from Associate-2 ' s bank account or from an account owned by a trucking company

nominally owned by a relative of URIBE ("Trucking Company-2").

                    MENENDEZ Agrees to Disrupt the New Jersey Investigation

       36.     In or about late July 2019, a New Jersey detective sought to interview the New

Jersey Investigative Subject in a criminal investigation related to the prosecution of the New

Jersey Defendant. Following that interview request, ROBERT MENENDEZ, NADINE

MENENDEZ, a/k/a "Nadine Arslanian," and JOSE URIBE, the defendants, agreed that

MENENDEZ would attempt to intervene with Official-2 again. For example:

               a.       After learning of this interview request, URIBE contacted NADINE

MENENDEZ and met with her on or about the evening of July 31 , 2019. The next morning,

URIBE sent NADINE MENENDEZ a series of texts saying that he did not want anyone to

"bother" the New Jersey Investigative Subject (who as discussed above in paragraph 31 was an

insurance broker at the Insurance Company he controlled), and also saying that " [w]e need to

make things go away," " [w]e need to move fast," and " [w]e can still stop this." That day,

NADINE MENENDEZ wrote to URIBE, among other things, that she would "address it first

thing tomorrow morning or tonight depending on when he [i. e., MENENDEZ] is home," and

adding, "he will be home first thing tomorrow I will address it first thing tomorrow and have the

phone calls go out." Later that day, MENENDEZ performed a Google search for the initials of

the state agency employing the insurance fraud investigator who was seeking to interview the

New Jersey Investigative Subject. A few days later NADINE MENENDEZ texted URIBE that

                                                24
      Case 1:23-cr-00490-SHS          Document 1       Filed 09/21/23       Page 25 of 39




MENENDEZ had commented about URIBE' s two requests related to these criminal matters, that

"it would've been so so easy if we had wrapped both [requests] together."

               b.     On or about September 3, 2019, URIBE-who at this point had been

making the periodic payments for the Mercedes-Benz Convertible for several months-texted

NADINE MENENDEZ, "Please don't forget about me. I will never forget about you" and "I

need peace." The next day, on or about September 4, 2019, MENENDEZ called Official-2 to

schedule an in-person meeting with Official-2 for September 6, 2019, at MENENDEZ's Senate

office in Newark, New Jersey. The day after that call-i. e., September 5, 2019-URIBE,

MENENDEZ, and NADINE MENENDEZ met at NADINE MENENDEZ ' s house.

               c.     On or about September 6, 2019, MENENDEZ met with Official-2 at

MENENDEZ' s Senate office in Newark, New Jersey in an attempt, through advice and pressure,

to cause Official-2 to favorably resolve the investigation involving the New Jersey Investigative

Subject. After the meeting, MENENDEZ met with URIBE at MENENDEZ' s apartment.

URIBE thereafter texted another business associate of his ("Associate-3 ") that the meeting

between MENENDEZ and Official-2 had been a "good meeting" and that-while nothing was

final, to URIBE's understanding-MENENDEZ had informed URIBE that the meeting with

Official-2 was "very positive."

               d.     Over the next several weeks following the September 6, 2019 meeting

between MENENDEZ and Official-2, URIBE repeatedly texted NADINE MENENDEZ asking

for updates and stating that he needed "peace."

               e.     On or about October 29, 2019-the day after URIBE texted NADINE

MENENDEZ, "I always text you on Monday in case you have an update. I just need peace."-

MENENDEZ called URIBE from his Senate office in Washington, D.C. Within minutes of

getting off the phone, URIBE texted NADINE MENENDEZ, writing, "I just got a call and I am

                                                  25
..         Case 1:23-cr-00490-SHS         Document 1       Filed 09/21/23      Page 26 of 39




     a very happy person." and "GOD bless you and him for ever." Several nights later,

     MENENDEZ, NADINE MENENDEZ, URIBE, and Associate-3 met for a celebratory dinner

     and toasted with a bottle of champagne, as depicted below.




                   f.      On or about November 5, 2019-i. e. , several days after receiving the call

     from MENENDEZ and meeting for the celebratory champagne dinner-URIBE texted NADINE

     MENENDEZ asking for information that would allow him to set up automatic payments for the

     Mercedes-Benz Convertible. Two minutes after saying he intended to set up automatic

     payments, URIBE texted NADINE MENENDEZ again, writing, "I have so much peace.

     Gracias a DIOS and to you guys."

                    g.     On or about November 9, 2019, URIBE set up automatic payments for the

     Mercedes-Benz Convertible. URIBE caused a trucking company associated with him

     ("Trucking Company-3") to make at least approximately 32 monthly payments on the Mercedes-

     Benz Convertible. Together with the payments URIBE caused Associate-2 to make for the


                                                    26
       Case 1:23-cr-00490-SHS            Document 1        Filed 09/21/23       Page 27 of 39




Mercedes-Benz Convertible, URIBE caused more than $30,000 to be paid for the purchase of the

car, not including the cash URIBE had provided in a parking lot to NADINE MENENDEZ to

pay towards the down payment.

       37.      In or about June 2022, federal agents approached ROBERT MENENDEZ,

NADINE MENENDEZ, a/k/a "Nadine Arslanian," and JOSE URIBE, the defendants, and

executed court-authorized search warrants on the MENENDEZES' residence, among other

places. After those approaches, URIBE ceased making payments on the Mercedes-Benz

Convertible, and later that year, MENENDEZ wrote NADINE MENENDEZ a check for

$23 ,000, and NADINE MENENDEZ wrote URIBE a check for $21 ,000 with a memo line

reading "personal loan."

MENENDEZ Promises and Seeks to Disrupt a Federal Criminal Prosecution of DAIBES in
                Exchange for Cash, Furniture, and Gold Bars

        38.     From at least in or about December 2020 to at least in or about early 2022,

ROBERT MENENDEZ, the defendant, agreed to attempt to influence and attempted to influence

the pending federal prosecution of FRED DAIBES, the defendant, in exchange for cash,

furniture, and gold bars that DAIBES provided to MENENDEZ and NADINE MENENDEZ,

a/k/a "Nadine Arslanian," the defendant, including by recommending that the President nominate

a candidate for U.S Attorney for the District of New Jersey who MENENDEZ believed could be

influenced by MENENDEZ with respect to DAIBES's case, and by attempting to influence the

U.S. Attorney' s Office for the District of New Jersey to act favorably in DAIBES's case.

        39.     In or about December 2020, ROBERT MENENDEZ, the defendant, met with an

individual who would later be nominated to be the U.S. Attorney for the District of New Jersey

(referred to herein as the "Candidate" or "Official-3 ," the latter after Official-3 ' s Senate

confirmation). At the time of the meeting, the Candidate was an attorney in private practice, and



                                                   27
      Case 1:23-cr-00490-SHS          Document 1           Filed 09/21/23   Page 28 of 39




the purpose of his meeting with MENENDEZ was to consider a potential candidacy for U.S.

Attorney in New Jersey. In that meeting, MENENDEZ criticized the U.S. Attorney's Office for

the District of New Jersey ' s prosecution of FRED DAIBES, the defendant, and said that he

hoped that the Candidate would look into DAIBES ' s case if the Candidate became the U.S .

Attorney. MENENDEZ did not mention any other case in the meeting. After the meeting, the

Candidate informed MENENDEZ that he might have to recuse himself from the DAIBES

prosecution as a result of a matter he had handled in private practice involving DAIBES.

MENENDEZ subsequently informed the Candidate that MENENDEZ would not put forward the

Candidate's name to the White House for a recommendation to be nominated by the President

for the position of U.S. Attorney. MENENDEZ also told the Candidate that MENENDEZ would

be recommending a different individual for the position.

       40.     Instead of the Candidate, ROBERT MENENDEZ, the defendant, recommended a

different individual for U.S. Attorney. FRED DAIBES, the defendant, believed that different

individual would likely be sympathetic to him. In or about the spring of 2021 , a series of news

reports critical of the other individual were published.

       41.     During that time period, in or about the spring of 2021 , an individual (the

"Advisor") associated with ROBERT MENENDEZ, the defendant, spoke to the Candidate and

discussed, among other things, the possibility of the Candidate recusing from the prosecution of

FRED DAIBES, the defendant. Subsequently, the Advisor informed MENENDEZ that the

Advisor believed that the Candidate would likely not have to recuse from the prosecution of

DAIBES. On or about May 2, 2021 , in connection with MENENDEZ' s potential

recommendation of the Candidate, the Advisor texted MENENDEZ, "I think if you call [the

Candidate], you' ll be comfortable with what he says."




                                                 28
          Case 1:23-cr-00490-SHS       Document 1        Filed 09/21/23      Page 29 of 39




          42.   On or about October 17, 2021, ROBERT MENENDEZ and NADINE

MENENDEZ, a/k/a "Nadine Arslanian," the defendants, returned from Egypt as described in

paragraph 29.f, landing at John F. Kennedy International Airport. Upon their arrival, a driver for

FRED DAIBES, the defendant ("DAIBES's Driver"), picked up MENENDEZ and NADINE

MENENDEZ from the airport and drove them to their home in New Jersey. The next day,

MENENDEZ performed a web search for "how much is one kilo of gold worth." As discussed

herein, multiple gold bars provided by DAIBES were found during the court-authorized June

2022 search of MENENDEZ and NADINE MENENDEZ's residence.

          43.   Following the events set forth in paragraph 41, ROBERT MENENDEZ, the

defendant, recommended to the President that the Candidate be nominated for the position of

U.S. Attorney for the District of New Jersey, and the Candidate was nominated by the President,

confirmed by the Senate, and sworn in as U.S. Attorney in or about December 2021 (hereinafter,

Official-3).

          44.   Shortly after the swearing in, on the basis of information that Official-3 provided

to the U.S. Department of Justice to determine whether a recusal was warranted, Official-3 was

informed that Official-3 was recused from the prosecution of FRED DAIBES, the defendant.

Official-3 and the U.S. Attorney's Office for the District of New Jersey implemented that

recusal. After Official-3 became the U.S. Attorney, the following events took place, among

others:

                a.     On or about December 23, 2021, the trial of DAIBES, which had

previously been scheduled for January 2022, was adjourned for reasons related to the COVID-19

pandemic. Later that day, DAIBES texted NADINE MENENDEZ, a/k/a "Nadine Arslanian,"

the defendant, and asked how ROBERT MENENDEZ, the defendant, who had recently

sustained a shoulder injury, was doing. NADINE MENENDEZ responded that MENENDEZ

                                                 29
       Case 1:23-cr-00490-SHS           Document 1       Filed 09/21/23       Page 30 of 39




was doing better having heard that the trial date was adjourned, and that MENENDEZ was

"FIXATED on it." DAIBES responded, "Good I don't want him to be upset over it. This is not

his fault he was amazing in all he did he' s an amazing friend and as loyal as they come. How is

the shoulder is he sleeping. Let me know ifl can get him a recliner it helped me sleep."

DAIBES thereafter provided a recliner to MENENDEZ.

               b.      On or about January 21 , 2022, MENENDEZ called Official-3 and asked

the identity of Official-3's First Assistant U.S. Attorney ("Official-4"). As a result of Official-

3 ' s recusal, Official-4 had supervisory responsibility over the prosecution of DAIBES.

               c.      On or about January 22, 2022, MENENDEZ and DAIBES called

DAIBES's lawyer to complain that the lawyer had not been aggressive enough in attempting to

get DAIBES's case dismissed.

               d.      On or about January 24, 2022, DAIBES ' s Driver exchanged two brief

calls with NADINE MENENDEZ. NADINE MENENDEZ then texted DAIBES, writing,

"Thank you. Christmas in January." DAIBES's Driver' s fingerprints were later found on an

envelope containing thousands of dollars of cash recovered from the residence of MENENDEZ

and NADINE MENENDEZ in New Jersey. This envelope also bore DAIBES ' s DNA and was

marked with DAIBES' s return address. In or about the early afternoon of January 24, 2022-

i.e., approximately two hours after NADINE MENENDEZ had texted DAIBES thanking him

and writing "Christmas in January"-MENENDEZ called Official-4, in a call lasting for

approximately 15 seconds. This was MENENDEZ' s first phone call to Official-4. On or about

January 29, 2022-i.e., several days after NADINE MENENDEZ had texted DAIBES, thanking

him and writing "Christmas in January"-MENENDEZ performed a Google search for "kilo of

gold price."




                                                  30
       Case 1:23-cr-00490-SHS          Document 1       Filed 09/21/23      Page 31 of 39




               e.     On or about January 31 , 2022, MENENDEZ again called Official-4, in a

call lasting for approximately one minute and 24 seconds. Within minutes of the end of his call

with Official-4, MENENDEZ called DAIBES.

               f.     Between approximately in or about December 2021 and February 2022,

MENENDEZ directed the Advisor to ask Official-3 , who was at the time the U.S. Attorney for

the District of New Jersey, why he had recused himself from the prosecution ofDAIBES, when

MENENDEZ had previously believed that he would not recuse himself. The Advisor declined

to do so.

               g.     Later, in or about late March 2022, the Advisor informed MENENDEZ

that he was planning to have lunch with Official-3. MENENDEZ told the Advisor, in sum and

substance, that he was frustrated with the way the U.S. Attorney ' s Office was handling the

prosecution of DAIBES, and further told the Advisor to tell Official-3 to give DAIBES "all due

process," notwithstanding that, as MENENDEZ knew, Official-3 was recused from the matter.

The Advisor had the lunch with Official-3 , but did not pass on the message from MENENDEZ.

               h.     On or about March 30, 2022, NADINE MENENDEZ met for lunch with

DAIBES. Following the lunch, NADINE MENENDEZ texted DAIBES, "THANK YOU Fred

    XO • ." The next day, NADINE MENENDEZ met with a jeweler (the "Jeweler"), who
was friends with DAIBES and WAEL HANA, a/k/a "Will Hana," the defendant, and texted with

DAIBES about the fact that she was meeting the Jeweler. At that meeting, NADINE

MENENDEZ provided the Jeweler two one-kilogram gold bars to be sold. At that time, the spot

market price for gold was over $60,000 per kilogram. NADINE MENENDEZ falsely told the

Jeweler, in sum and substance, that the gold came from her mother. A court-authorized search of

NADINE MENENDEZ' s phone later found a photograph, taken the day of NADINE



                                                31
t .         Case 1:23-cr-00490-SHS          Document 1        Filed 09/21/23      Page 32 of 39




      MENENDEZ's meeting with the Jeweler, of two one-kilogram gold bars marked with serial

      numbers indicating they had previously been possessed by DAIBES. A portion of this

      photograph is below:




             45.     Official-3 and Official-4 did not pass on to the prosecution team the fact that

      ROBERT MENENDEZ, the defendant, had contacted them as described in the above

      paragraphs, and they did not treat the case differently as a result of the above-described contacts.

      In or about April 2022, FRED DAIBES, the defendant, pled guilty pursuant to a plea agreement

      that provided for a probationary sentence.

             46.     As noted above, in or about June 2022, a court-authorized search of the residence

      of ROBERT MENENDEZ and NADINE MENENDEZ, a/k/a "Nadine Arslanian," the

      defendants, revealed, among other things, approximately two one-kilogram gold bars and nine

      one-ounce gold bars that had serial numbers indicating they had previously been possessed by

      FRED DAIBES, the defendant. The search also revealed that the residence contained, among

      other things, hundreds of thousands of dollars of cash, including approximately ten envelopes of

      cash, with tens of thousands of dollars, bearing the fingerprints and/or DNA of DAIBES. One of


                                                       32
      Case 1:23-cr-00490-SHS           Document 1        Filed 09/21/23    Page 33 of 39




those envelopes also bore, in addition to the fingerprints of DAIBES, the fingerprints of

MENENDEZ.

       47.     At all times relevant to this Indictment, ROBERT MENENDEZ, the defendant,

was required as a U.S. Senator to file annual financial disclosure forms listing, among other

things, income received by him or his spouse in each calendar year. At all times relevant to this

Indictment, MENENDEZ did not disclose, among other things, the receipt of any payments

towards the Mercedes-Benz Convertible for the benefit of him or of NADINE MENENDEZ,

a/k/a "Nadine Arslanian," the defendant, or the receipt of any cash or gold bars by him or by

NADINE MENENDEZ, in any relevant calendar year.

                                         COUNT ONE
                                 (Conspiracy to Commit Bribery)
                                     (As to All Defendants)

       The Grand Jury charges:

       48.     The allegations contained in paragraphs one through 47 of this Indictment are

repeated, realleged, and incorporated as if fully set forth herein.

       49.     From at least in or about January 2018 through at least in or about June 2022, in the

Southern District of New York and elsewhere, ROBERT MENENDEZ, NADINE MENENDEZ,

a/k/a "Nadine Arslanian," WAEL HANA, a/k/a "Will Hana," JOSE URIBE, and FRED DAIBES,

the defendants, and others known and unknown, willfully and knowingly combined, conspired,

confederated, and agreed together and with each other to commit bribery of a federal employee, in

violation of Title 18, United States Code, Sections 201(b)(l)(A) and (C) and (b)(2)(A) and (C).

        50.    It was a part and an object of the conspiracy that ROBERT MENENDEZ, the

defendant, and others known and unknown, being a public official, directly and indirectly, would

and did corruptly demand, seek, receive, ~ccept, and agree to receive and accept something of

value personally and for another person and entity, in return for being influenced in the

                                                  33
    •         Case 1:23-cr-00490-SHS           Document 1         Filed 09/21/23     Page 34 of 39

•

        performance of an official act and for being induced to do an act and omit to do an act in violation

        of his official duty, in violation of Title 18, United States Code, Section 201(b)(2)(A) and (C).

                 51.   It was further a part and an object of the conspiracy that NADINE MENENDEZ,

        a/k/a "Nadine Arslanian," WAEL HANA, a/k/a "Will Hana," JOSE URIBE, and FRED DAIBES,

        the defendants, and others known and unknown, directly and indirectly, would and did corruptly

        give, offer, and promise something of value to a public official, and offer and promise a public

        official to give something of value to another person and entity, with intent to influence an official

        act and to induce such public official to do an act and omit to do an act in violation of the lawful

        duty of such official, in violation of Title 18, United States Code, Section 201 (b)(1 )(A) and (C).

                                                     Overt Acts

                 52.   In furtherance of the conspiracy and to effect its illegal objects, the following overt

        acts, among others, were committed and caused to be committed in the Southern District of New

        York and elsewhere:

                       a.      On or about June 30, 2018, ROBERT MENENDEZ, NADINE

        MENENDEZ, a/k/a "Nadine Arslanian," and WAEL HANA, a/k/a "Will Hana," the defendants,

        met at a restaurant in Manhattan.

                       b.      On or about May 3, 2019, JOSE URIBE, the defendant, caused Associate-

        2 to make a payment from a corporate bank account that had been opened at a bank branch in the

        Bronx.

                       c.      On or about September 5, 2019, NADINE MENENDEZ sent URIBE a text

        message that was transmitted through a cell tower in Manhattan.

                       d.      On or about September 21 , 2019, ROBERT MENENDEZ, HANA, FRED

        DAIBES, the defendant, and Egyptian Official-4 met at a restaurant in Manhattan.




                                                          34
            Case 1:23-cr-00490-SHS           Document 1        Filed 09/21/23    Page 35 of 39

".

                    e.      On or about March 31 , 2022, NADINE MENENDEZ provided to a jeweler

     two one-kilogram gold bars that had been provided by DAIBES, which gold bars were sold in

     Manhattan.

                                 (Title 18, United States Code, Section 371.)

                                             COUNTTWO
                             (Conspiracy to Commit Honest Services Fraud)
                                         (As to All Defendants)

            The Grand Jury further charges:

            53.     The allegations contained in paragraphs one through 47 of this Indictment are

     repeated, realleged, and incorporated as if fully set forth herein.

            54.     From at least in or about January 2018 through at least in or about June 2022, in the

     Southern District of New York and elsewhere, ROBERT MENENDEZ, NADINE MENENDEZ,

     a/k/a "Nadine Arslanian," WAEL HANA, a/k/a "Will Hana," JOSE URIBE, and FRED DAIBES,

     the defendants, and others known and unknown, willfully and knowingly combined, conspired,

     confederated, and agreed together and with each other to commit honest services wire fraud, in

     violation of Title 18, United States Code, Sections 1343 and 1346.

             55.    It was a part and an object of the conspiracy that ROBERT MENENDEZ, NADINE

     MENENDEZ, a/k/a "Nadine Arslanian," WAEL HANA, a/k/a "Will Hana," JOSE URIBE, and

     FRED DAIBES, the defendants, and others known and unknown, having devised and intending to

     devise a scheme and artifice to defraud, and to deprive the public of its intangible right to ROBERT

     MENENDEZ' s honest services as a U.S. Senator and the Chairman and Ranking Member of the

     SFRC, would and did transmit and cause to be transmitted by means of wire, radio, and television

     communication in interstate and foreign commerce, writings, signs, signals, pictures, and sounds




                                                       35
      Case 1:23-cr-00490-SHS            Document 1       Filed 09/21/23     Page 36 of 39




for the purpose of executing such scheme and artifice, in violation of Title 18, United States Code,

Sections 1343 and 1346.

                           (Title 18, United States Code, Section 1349.)

                                    COUNT THREE
               (Conspiracy to Commit Extortion Under Color of Official Right)
                 (As to ROBERT MENENDEZ and NADINE MENENDEZ)

       The Grand Jury further charges:

        56.    The allegations contained in paragraphs one through 47 of this Indictment are

repeated, realleged, and incorporated as if fully set forth herein.

        57.    From at least in or about January 2018 through at least in or about June 2022, in the

Southern District of New York and elsewhere, ROBERT MENENDEZ and NADINE

MENENDEZ, a/k/a "Nadine Arslanian," the defendants, and others known and unknown, willfully

and knowingly combined, conspired, confederated, and agreed together and with each other to

commit extortion under color of official right, as that term is defined in Title 18, United States

Code, Section 1951(b)(2), and thereby would and did obstruct, delay, and affect commerce and

the movement of articles and commodities in commerce, as that term is defined in Title 18, United

States Code, Section 1951(b)(3).

                           (Title 18, United States Code, Section 1951.)

                                 FORFEITURE ALLEGATIONS

        58.     As a result of committing one or more of the offenses alleged in Counts One and

Two of this Indictment, ROBERT MENENDEZ, NADINE MENENDEZ, a/k/a "Nadine

Arslanian," WAEL HANA, a/k/a "Will Hana," JOSE URIBE, and FRED DAIBES, the

defendants, shall forfeit to the United States, pursuant to Title 18, United States Code, Section

981(a)(l)(C) and Title 28, United States Code, Section 2461(c), any and all property, real and

personal, that constitutes or is derived from proceeds traceable to the commission of said offenses,


                                                  36
           Case 1:23-cr-00490-SHS           Document 1       Filed 09/21/23      Page 37 of 39

..

     including but not limited to a sum of money in United States currency representing the amount of

     proceeds traceable to the commission of said offenses and the following specific property:

                    a.     The residence of MENENDEZ and NADINE MENENDEZ in Englewood

     Cliffs, New Jersey (the "Englewood Cliffs Premises").

                    b.     A 2019 Mercedes-Benz C-Class C300 automobile, vehicle identification

     number WDDWK8EB7KF873859.

                    c.     A sum of $486,461 in U.S. currency seized from the Englewood Cliffs

     Premises on or about June 16, 2022.

                    d.     A sum of $79,760 in U.S. currency seized from safe deposit box no. 13 at

     Chase Bank located at 50 Grand Avenue, Englewood, NJ 07631 on or about June 16, 2022.

                    e.     Two one-kilogram gold bars seized from the Englewood Cliffs Premises on

     or about June 16, 2022.

                    f.     Eleven one-ounce gold bars seized from the Englewood Cliffs Premises on

     or about June 16, 2022.

                    g.      Any and all funds on deposit in an account with an account number ending

     in 8817, held in the name of Strategic International Business Consultants, LLC, at PNC Bank.

            59.     As a result of committing the offense alleged in Count Three of this Indictment,

     ROBERT MENENDEZ and NADINE MENENDEZ, a/k/a "Nadine Arslanian," the defendants,

     shall forfeit to the United States, pursuant to Title 18, United States Code, Section 981 (a)(l )(C)

     and Title 28, United States Code, Section 2461(c), any and all property, real and personal, that

     constitutes or is derived from proceeds traceable to the commission of said offense, including but

     not limited to a sum of money in United States currency representing the amount of proceeds

     traceable to the commission of said offense and the following specific property:

                    a.      The Englewood Cliffs Premises.

                                                     37
               Case 1:23-cr-00490-SHS         Document 1       Filed 09/21/23      Page 38 of 39

.. '.

                      b.      A 2019 Mercedes-Benz C-Class C300 automobile, vehicle identification

        number WDDWK8EB7KF873859.

                      c.      A sum of $486,461 in U.S. currency seized from the Englewood Cliffs

        Premises on or about June 16, 2022.

                      d.      A sum of $79,760 in U.S. currency seized from safe deposit box no. 13 at

        Chase Bank located at 50 Grand Avenue, Englewood, NJ 07631 on or about June 16, 2022.

                      e.      Two one-kilogram gold bars seized from the Englewood Cliffs Premises on

        or about June 16, 2022.

                      f.      Eleven one-ounce gold bars seized from the Englewood Cliffs Premises on

        or about June 16, 2022.

                      g.      Any and all funds on deposit in an account with an account number ending

        in 8817, held in the name of Strategic International Business Consultants, LLC, at PNC Bank.

                                     SUBSTITUTE ASSETS PROVISION

                60.   If any of the property described above as being subject to forfeiture, as a result of

        any act or omission of ROBERT MENENDEZ, NADINE MENENDEZ, a/k/a "Nadine

        Arslanian," WAEL HANA, a/k/a "Will Hana," JOSE URIBE, and FRED DAIBES, the

        defendants:

                a.    cannot be located upon the exercise of due diligence;

                b.    has been transferred or sold to, or deposited with, a third person;

                c.    has been placed beyond the jurisdiction of the Court;

                d.    has been substantially diminished in value; or

                e.    has been commingled with other property which cannot be subdivided without

        difficulty;




                                                        38
       Case 1:23-cr-00490-SHS          Document 1        Filed 09/21/23      Page 39 of 39




it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), and

Title 28, United States Code, Section 2461, to seek forfeiture of any other property of the

defendants up to the value of the forfeitable property described above.

   (Title 18, United States Code, Section 981; Title 21, United States Code, Section 853; and
                           Title 28, United States Code, Section 2461.)


                                                      })CVMA~             vJ,UA'~
                                                      DAMIAN WILLIAMS
                                                      United States Attorney




                                                 39
